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                                                   UNITED STATES DISTRICT COURT
                                                              for the
                                                  EASTERN DISTRICT OF CALIFORNIA

                                              PRETRIAL SERVICES VIOLATION PETITION
The United States,

   -vs-

Brandon Savaloja                                                                     Docket No. 2:10-CR-0192 -JAM

COMES NOW Beth A. Baker, Pretrial Services Officer of the Court, presenting an official report upon the conduct and attitude of Brandon
Savaloja, who was initially placed on bond by the Honorable Dale A. Drozd, U.S. Magistrate Judge, sitting in the Court at Sacramento, California,
on the 25th day of May, 2010, who imposed the general terms and conditions of pretrial supervision theretofore adopted by the Court and also
imposed special terms and conditions as follows:

BOND CONDITIONS: The defendant was released on a $50,000 unsecured bond, co-signed by his grandparents and his mother, with Pretrial
Services supervision and special conditions of release. Please refer to Page 2.

OFFENSE: 21:846 and 841(a)(1) - Conspiracy to Distribute and Possess with Intent to Distribute Hydrocodone; and, 18:1028(a)(7) - Unlawful
Possession of a Means of Identification of Another (11 counts ). Mr. Savaloja is also subject to a Forfeiture allegation. The defendant’s next court
date is set before the Honorable John A. Mendez on January 18, 2011.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
Mr. Savaloja was discharged from The Effort residential treatment program on November 27, 2010. On said date, Mr. Savaloja was granted a
“personal” pass with another Effort resident to go to the Arden Fair Mall for five hours. Upon his return to the program, Mr. Savaloja submitted
to a Breathalyzer test and an oral swab test. Both tests yielded positive results for alcohol. Mr. Savaloja admitted to consuming alcohol while on
his day pass.

It should be noted, this is the second time the defendant has been discharged from The Effort residential treatment program. On July 2, 2010, Mr.
Savaloja was discharged from The Effort residential treatment program for abusing illegal substances, most notably heroin and prescription opiates.


PRAYING THAT THE COURT WILL ORDER a bail violation hearing be calendered for November 30, 2010, at 2:00 p.m. to address
the alleged violations contained in this petition.

LAST KNOWN ADDRESS:                  On file with Pretrial Services
TELEPHONE NUMBER:                    On file with Pretrial Services

I declare under penalty of perjury that the foregoing is true and correct.
                                                                                     Respectfully submitted,

                                                                                     /s/ Beth A. Baker
                                                                                     Beth A. Baker
                                                                                     U.S. Pretrial Services Officer
                                                                                     November 30, 2010
                                                                  ORDER
_____     The Court hereby orders a bench warrant be issued for the arrest of said defendant, bail set at $     .

_____     The Court orders a summons be issued with an appearance date of                                       .

   X      The Court hereby orders this matter placed on this court's calendar on Tuesday, November 30, at 2:00 p.m., and orders the Pretrial
          Services Officer to contact the defendant and/or attorney of record to advise them of said order.

          The Court orders no action be taken at this time.
                                                                             Considered and ordered this 30th day of
                                                                                November, 2010, and ordered filed and
                                                                              made part of the records in the above case.



                                                                                  The Honorable Edmund F. Brennan
                                                                                        U.S. Magistrate Judge
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Savaloja, Brandon


SPECIAL CONDITIONS OF RELEASE:

1.      You shall report to and comply with the rules and regulations of the Pretrial Services Agency;

2.      You shall report in person to the Pretrial Services Agency on the first working day following your release from custody;

3.      You shall participate and comply with all program regulations at the substance abuse treatment program at The Effort, Inc.,
        inpatient facility, and you shall remain at The Effort, Inc., inpatient facility at 1550 Juliesse Avenue, Sacramento, California,
        until released by the pretrial services officer;
        a.        A responsible party approved by Pretrial Services shall escort you to all required court hearings and escort you back
                  to The Effort upon completion of the hearing;

4.      Your travel is restricted to the Eastern District of California without the prior consent of the Pretrial Services Officer.

5.      You shall not possess a firearm/ammunition, destructive device, or other dangerous weapon; additionally, you shall provide
        written proof of divestment of all firearms/ammunition currently under your control;

6.      You shall refrain from any use of alcohol or any use of a narcotic drug or other controlled substance without a prescription
        by a licensed medical practitioner; and you shall notify Pretrial Services immediately of any prescribed medications.
        However, medicinal marijuana, prescribed or not, may not be used;

7.      You shall submit to drug or alcohol testing as approved by the pretrial services officer;

8.      Upon completion of the residential program, you shall participate in a program of medical or psychiatric treatment, including
        treatment for drug or alcohol dependency, as approved by the pretrial services officer;

9.      You shall seek and/or maintain employment or enroll in an approved educational program and provide verification monthly
        to Pretrial Services as directed upon successfully completing the residential treatment program;

10.     You shall not apply for any passports or any other travel documents during the pendency of this case;

11.     You shall report any contact with law enforcement to your pretrial services officer within 24 hours;

12.     You shall not associate with any co-defendant’s in this case, unless in the presence of defense counsel or otherwise approved
        in advance by your pretrial services officer;

13.     You shall submit to DNA testing as directed by the United States Attorney’s Office;

14.     Upon completion of The Effort residential program, you are to reside at a location approved by the pretrial services officer
        and not move or absent yourself from this residence for more than 24 hours without the prior approval of the pretrial services
        officer;

On July 2, 2010, the defendant was remanded to the custody of the U.S. marshal’s by U.S. Magistrate Judge, Gregory G.
Hollows, after being discharged from The Effort for abusing illegal substances, most notably heroin and prescription opiates.
On October 19, 2010, the defendant appeared before U.S. Magistrate Judge, Dale A. Drozd, for a Bail Review Hearing. On
said date, the defendant was ordered released on a $50,000 unsecured bond co-signed by his grandparents and his mother.
All of the above conditions of release were imposed once again with the addition of the following release condition:

15.     You shall participate in a cognitive behavior treatment program as directed by the pretrial services officer. Such programs
        may include group sessions led by a counselor or participation in a program administered by the Pretrial Services office.
